

Matter of Jabuki M. v Nicole B. (2021 NY Slip Op 04190)





Matter of Jabuki M. v Nicole B.


2021 NY Slip Op 04190


Decided on July 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 01, 2021

Before: Renwick, J.P., Gische, Oing, Mendez, JJ. 


Docket No. V-7586-16, V-7586-17A, V-31368-16, V-6751-17 Appeal No. 14147 Case No. 2020-04276 

[*1]In the Matter of Jabuki M., Petitioner-Appellant,
vNicole B., Respondent-Respondent. 


Larry Bachner, New York, for appellant.
Kenneth M. Tuccillo, Hastings on Hudson, for respondent.
Janet Neustaetter, The Children's Law Center, Brooklyn (Rachel J. Stanton of counsel), attorney for the child.



Appeal from order, Family Court, Bronx County (Leticia M. Ramirez, J.), entered on or about March 16, 2020, which dismissed petitioner father's petition to find respondent mother in violation of a visitation order, unanimously dismissed, without costs, as taken from a nonappealable paper.
No appeal lies from an order entered upon the default of the appealing party (see Matter of Derick B. v Catherine L., 155 AD3d 511, 512 [1st Dept 2017]). Where a party has defaulted, the remedy is not an appeal, but a motion to vacate the default, making a showing of a meritorious action and a reasonable excuse for the default in appearance and, if that is denied, to appeal from the order denying the motion to vacate (see Figueroa v Sanchez, 68 AD3d 418 [1st Dept 2009]; Masone v New York City Hous. Auth., 279 AD2d 323 [1st Dept 2001]). To the extent the parties represent that they have stipulated to reinstate the father's petitions, the appeal is also subject to dismissal as moot (see Matter of Sandra G. v Victor P., 71 AD3d 588 [1st Dept 2010], lv dismissed 15 NY3d 862 [2010]).
We have considered the father's remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: July 1, 2021








